
In re Hills, Arthur; — Plaintiff(s); applying for supervisory and/or remedial writ; to the Court of Appeal, Fourth Circuit, No. 93KW-*11480786; Parish of Orleans, Criminal District Court, Div. “B”, No. 264-975.
Granted in part; denied in part. The district court’s order of January 28,1992, resen-tencing relator to a term of imprisonment to 60 years at hard labor without benefit of probation, parole, or suspension of sentence is vacated and this case is remanded to the district court for resentencing with relator present. At the time of the offense in 1978, neither R.S. 14:60 nor R.S. 15:529.1 placed any restrictions on the availability of probation, parole or suspension of sentence. Relator’s present sentence is therefore illegally harsh and subject to correction at any time. State v. Wymore, 377 So.2d 283 (La.1979). In all other respects the writs are denied.
LEMMON, J., not on panel.
